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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
______________________________________

UNITED STATES OF AMERICA,

                                                                 11-CR-151-A

                     v.

BRITTANY GROUND,

                            Defendant.

______________________________________


         ORDER AUTHORIZING MENTAL COMPETENCY EXAMINATION
     OF THE DEFENDANT PURSUANT TO TITLE 18, UNITED STATES CODE,
    SECTION 4241(b) AND TITLE 18, UNITED STATES CODE, SECTION 4242(a)


              WHEREAS, the defendant Brittany Ground (“the defendant”) is charged in a

Superseding Indictment with having violated Title 18 U.S.C. § 1962(d) (Count 1) (RICO

conspiracy); Title 18, U.S.C. § 1959(a)(5) (Count 14) (attempted murder in aid of

racketeering); Title 18, U.S.C. § 1959(a)(3) (Count 15) (assault with a dangerous weapon

in aid of racketeering); Title 18, U.S.C. § 924(c)(1)(A)(iii) (Count 16) (possession and

discharge of firearm in furtherance of crimes of violence); Title 21 U.S.C. § 846 (Count 24)

(narcotics conspiracy); and Title 18 U.S.C. §§ 924(c) and 2 (Count 25) (possession of

firearms in furtherance of a drug trafficking crime); and



              WHEREAS, the Court is fully familiar with the criminal proceedings that

have been initiated against the defendant; and
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              WHEREAS, the Court has been advised that the defendant has a medical

history which warrants a current mental examination and evaluation of the defendant; and



              WHEREAS, counsel for the defendant has affirmatively requested that the

defendant’s competency be examined, and the Court having heard oral argument on

September 18, 2014, in consideration of defense counsel’s request for an evaluation of

the defendant’s competency to stand trial under 18 U.S.C. § 4241 and an evaluation as to

defendant’s sanity at the time of the offense under 18 U.S.C. § 4242; and



              WHEREAS, the government agrees that the defendant’s request for a

competency examination should be granted under 18 U.S.C. § 4241 and 18 U.S.C. §

4242, it is hereby;



              ORDERED, pursuant to 18 U.S.C. §§ 4241(a) and (b) that a psychiatric

and/or psychological examination of the defendant be conducted and that pursuant to 18

U.S.C. § 4242(a) that the defendant undergo a psychiatric or psychological examination

to determine the existence of insanity at the time of the alleged offense, and a psychiatric

or psychological report be filed with the Court pursuant to 18 U.S.C. § 4247(c) containing:



       1.     The defendant’s history and present symptoms, if any;

       2.     A description of the psychiatric, psychological and/or medical tests
              that were employed and their results;

       3.     The name of the examiner(s) and his/her (their) qualifications and

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                their findings as to the competency to proceed; and

        4.      The examiner’s opinions as to the diagnosis and prognosis; and

        5.      A determination as to whether the defendant is presently suffering
                from a mental disease or defect rendering her mentally incompetent
                to the extent that she is unable to understand the nature and
                consequences of the proceedings against her or to assist properly in
                her defense; and

        6.      A determination as to whether the defendant was insane at the time
                of the offenses charged; and it is further



                ORDERED, that pursuant to 18 U.S.C. § 4247(b) defendant is committed to

the custody of the Attorney General for a reasonable period. Since the government and

the defendant agree that the examination pursuant to 18 U.S.C. § 4241 and 18 U.S.C. §

4242 would likely not be completed within 30 days and 45 days, respectively, as required

by statute, the defendant has assented to having the examination completed within 90.

It is further



                ORDERED, that the United States Marshal shall take the defendant into

custody pursuant to the terms of this order and shall promptly deliver her to a suitable

facility to be determined by the Attorney General and the United States Marshal shall do

this as quickly as possible so as to minimize the period during which the defendant must

travel to, be confined in, and be returned from the facility where such examination will be

conducted; and it is further




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             ORDERED, that the time between September 18, 2014, and the date upon

which defendant’s competency motion is resolved, shall be excluded for the purposes of

the Speedy Trial Act pursuant to 18 USC § 3161(h)(1)(A).




                                              s/ H. Kenneth Schroeder, Jr.
                                              H. KENNETH SCHROEDER, JR.
                                              United States Magistrate Judge

DATED:       Buffalo, New York
             September 18, 2014




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